      Casebelow
The order  19-00149-SMT
                 is herebyDoc 25 Filed 03/27/19
                           signed.                Entered 03/27/19 08:44:59   Desc Main
                                   Document    Page 1 of 2
     Signed: March 26 2019




                                              _____________________________
                                              S. Martin Teel, Jr.
                                              United States Bankruptcy Judge

                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLUMBIA

       In re                              )
                                          )
       THOMAS K. STEPHENSON,              )       Case No. 19-00149
                                          )       (Chapter 11)
                         Debtor.          )

                          ORDER DENYING DEBTOR’S MOTION
           FOR EMERGENCY INTERIM AND PERMANENT USE OF CASH COLLATERAL

            The debtor’s Motion for Emergency Interim and Permanent Use

       of Cash Collateral (“Motion”) partially fails to comply with Rule

       4001(b)(1)(B) by failing to identify the specific location of

       each provision of a character listed in Rule 4001(b)(1)(B)(i)

       through (iv) in the proposed Order.         The Motion also does not

       comply with LBR 5005-3(a), which requires proof of service “in

       the form of a certificate of service either attached to the paper

       served or docketed separately.”         Moreover, the debtor, who has

       not filed the List of Creditors Holding 20 Largest Unsecured

       Claims, cannot have certified service on “the creditors included

       on the list filed under Rule 1007(d)” as required by Rule

       4001(b)(1)(C).    It is therefore

            ORDERED that the debtor’s Motion for Emergency Interim and
Case 19-00149-SMT                                                                               Doc 25   Filed 03/27/19 Entered 03/27/19 08:44:59   Desc Main
                                                                                                         Document Page 2 of 2


Permanent Use of Cash Collateral (Dkt. No. 17) is DENIED without

prejudice to refiling of the Motion with the required

modifications as discussed above.

                                                                                                                             [Signed and dated above.]

Copies to: Debtor; Attorney for the Debtor; Office of the U.S.
Trustee; e-recipients.




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